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 4
   Attorney for:
 5 EDGAR HERRERA

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 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. 2:15-CR-00131 TLN
12                                Plaintiff,               STIPULATION AND ORDER
                                                           CONTINUING JUDGMENT AND
13   v.                                                    SENTENCING
14   EDGAR HERRERA,
15                                Defendant,
16

17
                                               STIPULATION
18
            Plaintiff, United States of America, by and through its counsel of record, and defendant,
19

20 EDGAR HERRERA, by and through his counsel of record, hereby stipulate that judgment and

21 sentencing, currently scheduled for September 27, 2018, may be continued to January 24, 2019, at

22 9:30 a.m. There are issues related to sentencing that remain unresolved and which constitute good

23
     cause to change the time limits for sentencing within the meaning of F.R.Crim.P. 32(b)(2).
24
     Specifically, the parties need additional time to determine whether there are grounds for a departure
25
     from the applicable sentencing guideline range.
26
            The United States Probation Department has been consulted about this continuance and has
27

28 no objection.
                                                       1
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            Counsel for the government has reviewed this stipulation and proposed order and has
 1
     authorized counsel for EDGAR HERRERA to sign and file it on his behalf.
 2

 3

 4 IT IS SO STIPULATED.

 5                                             McGregor W. Scott
                                               United States Attorney
 6
     DATED: September 5, 2018                  By: /s/ Samuel Wong
 7                                             Samuel Wong
                                               Assistant United States Attorney
 8

 9 DATED: September 5, 2018                    /s/Scott Cameron
                                               Scott Cameron
10                                             Attorney for Edgar Herrera
11

12
                                               ORDER
13

14          IT IS SO ORDERED this 5th day of September, 2018.
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18                                                            Troy L. Nunley
                                                              United States District Judge
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